Case 2:19-cv-08405-JMV-MF Document 67-2 Filed 04/24/19 Page 1 of 4 PageID: 3384




                               EXHIBIT 1
                           Case 2:19-cv-08405-JMV-MF Document 67-2 Filed 04/24/19 Page 2 of 4 PageID: 3385



                                                     INDEX IN SUPPORT OF MOTION TO SEAL

Material                            Legitimate Public or           Clearly Defined and             Why a Less     Any Prior                    Party in
                                    Private Interest               Serious Injury that Would       Restrictive    Order Sealing                Opposition to
                                    Warranting Relief              Result if the Relief is Not     Alternative to the
                                                                                                                  the Same                     Sealing, if
                                                                   Granted                         Relief Sought is Not
                                                                                                                  Materials in                 any, and
                                                                                                   Available      the                          Basis
                                                                                                                  Pending
                                                                                                                  Action
                           Declaration of Timothy Danaher (ECF No. 11) (Redacted version filed under ECF No. 12)
Paragraph     Words and        Plaintiff Juul Labs, Inc.   If filed on the public docket, There is no less        None                         None
11            numbers between (“Juul Labs”) requests       the information will reveal    restrictive alternative
              “sold” and       sealing of the information  confidential and proprietary other than sealing the
              “JUULPods;       because it reveals,         information regarding Juul     designated portions.
              words and        contains, and/or reflects   Labs’ marketing,               Any alternative to
              numbers between sensitive proprietary        development, and research      sealing does not
              “over” and       commercial and business     activities and expenditures. provide the
              “marketing”      information regarding Juul It will also reveal             protections required
                               Labs’ marketing and         confidential information       for such nonpublic
                               development of the JUUL     regarding sensitive            proprietary and
                               products. It also reflects  corporate accounting and       confidential
                               sensitive financial,        business operations            information. 3
                               corporate accounting and    information.
                               business information of
                               Juul Labs’ and its vendors. This information is regarded
                               Further, this proprietary   as highly proprietary and
                               information is presently    kept confidential, and is not
                               confidential and            otherwise disseminated to
                               unavailable to the public.1 the public. As such, if this

       1
           This explanation of the “legitimate public or private interest warranting relief” is referred to herein as “Basis for Sealing.”
       3
           This explanation of “why a less restrictive alternative to the relief sought is not available” is referred to herein as “No Alternative.”

                                                                               2
                         Case 2:19-cv-08405-JMV-MF Document 67-2 Filed 04/24/19 Page 3 of 4 PageID: 3386



Material                          Legitimate Public or           Clearly Defined and              Why a Less               Any Prior            Party in
                                  Private Interest               Serious Injury that Would        Restrictive              Order Sealing        Opposition to
                                  Warranting Relief              Result if the Relief is Not      Alternative to the       the Same             Sealing, if
                                                                 Granted                          Relief Sought is Not     Materials in         any, and
                                                                                                  Available                the                  Basis
                                                                                                                           Pending
                                                                                                                           Action
                                                                 request to seal is not
                                  See Cooke Decl., ¶¶ 8-11.      granted, the disclosure of
                                                                 this information would
                                                                 provide the public insight
                                                                 into the business and
                                                                 operations of JLI, its
                                                                 processes in considering,
                                                                 researching, developing, and
                                                                 marketing its products, and
                                                                 would give competitors an
                                                                 unfair advantage in the
                                                                 highly competitive e-
                                                                 cigarette marketplace.2

                                                            See Cooke Decl. ¶ 10.
                  Exhibit 1 to the Declaration of Timothy Danaher (ECF No. 11-1)(Redacted version filed under ECF No. 12-1)
Exhibit 1    Entirety            See Basis for Sealing.     See Injury.                See No Alternative.    None                              None
                          Declaration of Michael Walter (ECF No. 11-2) (Redacted version filed under ECF No. 12-2)
Paragraph    Entirety            See Basis for Sealing.     See Injury.                See No Alternative.    None                              None
30
Paragraph    Entirety             See Basis for Sealing.         See Injury.                      See No Alternative.      None                 None
31

        2
         This explanation of the “clearly defined and serious injury that would result if the relief is not granted” is referred to herein as
        “Injury.”

                                                                               3
                       Case 2:19-cv-08405-JMV-MF Document 67-2 Filed 04/24/19 Page 4 of 4 PageID: 3387



Material                      Legitimate Public or        Clearly Defined and           Why a Less            Any Prior       Party in
                              Private Interest            Serious Injury that Would     Restrictive           Order Sealing   Opposition to
                              Warranting Relief           Result if the Relief is Not   Alternative to the    the Same        Sealing, if
                                                          Granted                       Relief Sought is Not  Materials in    any, and
                                                                                        Available             the             Basis
                                                                                                              Pending
                                                                                                              Action
                 Exhibit 1 to the Declaration of Michael Walter (ECF No. 11-3) (Redacted version filed under ECF No. 12-3)
Exhibit 1   Entirety            See Basis for Sealing.    See Injury.                  See No Alternative.    None            None
                 Exhibit 1 to the Declaration of Michael Walter (ECF No. 11-4) (Redacted version filed under ECF No. 12-4)
Exhibit 2   Entirety            See Basis for Sealing.    See Injury.                  See No Alternative.    None            None




                                                                    4
